      Case 5:18-cv-00496-FJS-DEP Document 42 Filed 08/03/18 Page 1 of 38



     UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF NEW YORK

JOHN DOE #1, JOHN DOE #2, JOHN DOE
#3, JOHN DOE #4, JOHN DOE #5, JOHN
DOE #6, JOHN DOE #7, JOHN DOE #8,  SECOND AMENDED COMPLAINT
and JOHN DOE #9,                   Case No.: 5:18-cv-496 (FJS/DEP)

                             Plaintiffs,
       v.                                                 JURY TRIAL DEMANDED

SYRACUSE UNIVERSITY, KENT
SYVERUD, individually and as Chancellor
of Syracuse University, ROBERT
HRADSKY, individually and as Syracuse
University Dean of Students and Associate
Vice President of the Student Experience,
and TERESA ABI-NADER DAHLBERG,
individually and as the Dean of the College
of Engineering and Computer Science,

                             Defendants.


       Plaintiffs, JOHN DOE #1, JOHN DOE #2, JOHN DOE #3, JOHN DOE #4, JOHN DOE

#5, JOHN DOE #6, JOHN DOE #7, JOHN DOE #8, and JOHN DOE #9, by and through their

attorneys, Smith, Sovik, Kendrick & Sugnet, P.C., complain of Defendants, SYRACUSE

UNIVERSITY, KENT SYVERUD, individually and as Chancellor of Syracuse University,

ROBERT HRADSKY, individually and as Syracuse University Dean of Students and Associate

Vice President of the Student Experience, TERESA ABI-NADER DAHLBERG, individually and

as the Dean of the College of Engineering and Computer Science, as follows:

                                             INTRODUCTION

       1.             Plaintiffs are suspended students who were prospective and current members of the

Syracuse University chapter of Theta Tau, a professional engineering fraternity. On March 30,

2018, as was Theta Tau tradition, Plaintiffs performed a satirical skit—a roast—of the Theta Tau



       {S0833993.1}                                   1
      Case 5:18-cv-00496-FJS-DEP Document 42 Filed 08/03/18 Page 2 of 38



brothers. The skit was recorded by a member of the fraternity and made privately available to

Syracuse University Theta Tau members in a closed Facebook group. Over two weeks later, an

unauthorized third party observed the video on a Theta Tau member’s computer, recorded it, and

disseminated it to both Syracuse University officials and The Daily Orange without any Theta Tau

member’s authorization or consent.

       2.             Within minutes of the roast recordings leaking, Defendants had effectively

concluded the investigation and proclaimed Plaintiffs were guilty of engaging in abhorrent and

likely unlawful conduct; Defendants proclaimed the participants as racist, anti-semitic,

homophobic, sexist, and hostile to people with disabilities rather than acknowledging that their

own investigation showed the performance was satirical. All Defendants overreacted, sped to

judgment, and even labelled the students “criminals.” Indeed, as the Senior Vice President of

Enrollment and the Student Experience, Dolan Evanovich, stated regarding the investigation and

ensuing disciplinary process: “We are really trying to compress this timeline.”

       3.             During the ensuing eight days, Defendants dissembled Plaintiffs lives by:

(1) suspending them from school and barring them from attending classes in the crucial final weeks

of the semester, threatening their academic success and survival; and (2) maligning them

personally to salvage Syracuse University’s reputation at Plaintiffs’ expense.

       4.             The University engaged in bad faith behavior throughout the disciplinary process,

breaching the contract it has with Plaintiffs. Specifically, the University began the disciplinary

process by filing frivolous Title IX charges to take advantage of specialized Title IX hearing

procedures. The University’s frivolous Title IX charge allowed the University to place a hold on

Plaintiffs to obtain official transcripts during the pendency of the disciplinary proceedings,

effectively precluding them from even attempting to pursue their right to transfer institutions.




       {S0833993.1}                                   2
      Case 5:18-cv-00496-FJS-DEP Document 42 Filed 08/03/18 Page 3 of 38



After conducting the disciplinary process under Title IX procedures, the University withdrew the

Title IX charges but nevertheless continued to use the Title IX mechanism in violation of its

Student Conduct Handbook. The University continued to hold the students’ transcripts and then,

without notice, improperly placed notations of the disciplinary action on Plaintiffs’ academic

records while they pursued appeals contrary to the University’s Code of Conduct. At the same

time, the University intentionally and without cause stalled the University Appeals Board (the

“UAB”) proceedings by failing to render decisions for over a month and a half. Overall, the

University’s bad faith conduct precluded Plaintiffs from pursuing their right to transfer, further

penalizing them by forcing a de facto suspension on enrollment at almost any institution.

Ultimately, the UAB rendered a decision affirming the same errors in the University Conduct

Board (the “UCB”) decision.

       5.             In addition to its bad faith behavior, the University conducted the disciplinary

process without regard for fundamental fairness, which is a right given to Syracuse University

students in multiple Syracuse University disciplinary policies. From “trying” Plaintiffs as a group

rather than as fifteen individuals, to denying Plaintiffs the ability to present evidence that would

establish defenses to the charges, and many more errors, Syracuse University persistently and

pervasively infected the disciplinary proceedings with incurable prejudice in breach of the Student

Conduct Procedures, which form a part of the contract between the University and its students.

       6.             Plaintiffs now seek equitable relief from this Court, enjoining Defendants from

further harming Plaintiffs, and also seek damages for the injury to their educational pursuits and

to their reputation caused by Defendants’ malicious acts.




       {S0833993.1}                                   3
      Case 5:18-cv-00496-FJS-DEP Document 42 Filed 08/03/18 Page 4 of 38



                                              THE PARTIES
       7.             Plaintiff, JOHN DOE #1, is an individual who is a student at Syracuse University,

scheduled to graduate in May 2021, whose permanent domicile is in the State of Massachusetts.

       8.             Plaintiff, JOHN DOE #2, is an individual who is a student at Syracuse University,

scheduled to graduate in May 2021, who is a Central American citizen with a domicile in John

Doe’s country of citizenship.

       9.             Plaintiff, JOHN DOE #3, is an individual who is a student at Syracuse University,

scheduled to graduate in May 2021, whose permanent domicile is in the State of New Jersey.

       10.            Plaintiff, JOHN DOE #4, is an individual who is a student at Syracuse University,

scheduled to graduate in May 2021, whose permanent domicile is in the State of Colorado.

       11.            Plaintiff, JOHN DOE #5, is an individual who is a student at Syracuse University,

scheduled to graduate in May 2019, whose permanent domicile is in the State of New Hampshire.

       12.            Plaintiff, JOHN DOE #6, is an individual who is a student at Syracuse University,

scheduled to graduate in May 2021, whose permanent domicile is in the State of New Jersey.

       13.            Plaintiff, JOHN DOE #7, is an individual who is a student at Syracuse University,

scheduled to graduate in May 2020, whose permanent domicile is in the State of Massachusetts.

       14.            Plaintiff, JOHN DOE #8, is an individual who is a student at Syracuse University,

scheduled to graduate in May 2021, whose permanent domicile is in the State of California.

       15.            Plaintiff, JOHN DOE #9, is an individual who is a student at Syracuse University,

scheduled to graduate in May 2021, whose permanent domicile is in the State of Massachusetts.

       16.            Defendant SYRACUSE UNIVERSITY (the “University”) is a private university

located in Syracuse, New York. Upon information and belief, the University operates under a state

charter that places the institution under a Board of Trustees, the defendant Trustees of Syracuse

University. Overall guidance of Syracuse University lies in the discretion of its forty-six voting


       {S0833993.1}                                   4
      Case 5:18-cv-00496-FJS-DEP Document 42 Filed 08/03/18 Page 5 of 38



member Board of Trustees. The Board of Trustees is entrusted to select the Chancellor, oversee

all faculty and senior administrative appointments, monitor the budget, supervise the endowment

and protect Syracuse University.

       17.            Defendant, KENT SYVERUD, is the Chancellor of the University. In his official

capacity as Chancellor and President of the University, he is its chief executive and the chief

administrative officer of the University.

       18.            Defendant, ROBERT HRADSKY, the Syracuse University Dean of Students and

Associate Vice President of the Student Experience, is intimately involved in student disciplinary

matters, including this matter, where she contacted Plaintiffs.

       19.            Defendant, TERESA ABI-NADER DAHLBERG, the Dean of the College of

Engineering and Computer Science, heads the College of Engineering and Computer Science and

has released statements to the public and the university community regarding Plaintiffs.

                                      JURISDICTION AND VENUE

       20.            The Court has original subject matter jurisdiction based under 28 U.S.C. § 1331

and 28 U.S.C. § 1332.

       21.            This Court has subject matter jurisdiction over the claims in this Complaint

pursuant to 28 U.S.C. § 1332 as the parties are completely diverse and the amount in controversy

exceeds $75,000 exclusive of interest and costs. The parties’ domiciles are as follows:

             a. Plaintiff, JOHN DOE #1, has a permanent domicile in the State of Massachusetts.

             b. Plaintiff, JOHN DOE #2, is a foreign national who has a permanent domicile

                      outside the United States of America.

             c. Plaintiff, JOHN DOE #3, has a permanent domicile in the State of New Jersey.

             d. Plaintiff, JOHN DOE #4, has a permanent domicile in the State of Colorado.




       {S0833993.1}                                   5
      Case 5:18-cv-00496-FJS-DEP Document 42 Filed 08/03/18 Page 6 of 38



              e. Plaintiff, JOHN DOE #5, has a permanent domicile in the State of New Hampshire.

              f. Plaintiff, JOHN DOE #6, has a permanent domicile in the State of New Jersey.

              g. Plaintiff, JOHN DOE #7, has a permanent domicile in the State of Massachusetts.

              h. Plaintiff, JOHN DOE #8, has a permanent domicile in the State of California.

              i. Plaintiff, JOHN DOE #9, has a permanent domicile in the State of Massachusetts.

              j. Upon information and belief, Defendant, SYRACUSE UNIVERSITY, is a New

                       York State chartered educational corporation. See N.Y. L. 1887, ch. 414.

              k. Upon information and belief, Defendant, KENT SYVERUD, has a permanent

                       domicile in the State of New York.

              l. Upon information and belief, Defendant, ROBERT HRADSKY, has a permanent

                       domicile in the State of New York.

              m. Upon information and belief, Defendant, TERESA ABI-NADER DAHLBERG,

                       has a permanent domicile in the State of New York.

        22.            Venue lies in this district pursuant to 28 U.S.C. § 1391(b)(1) and § 1391(b)(2) since

all the defendants reside in this judicial district and the events giving rise to Plaintiffs’ claims

occurred in this district.

                                         FACTUAL ALLEGATIONS

        23.            Theta Tau is the oldest and largest co-educational fraternity devoted to engineers

in the country. Founded in 1904 at University of Minnesota, the fraternity is committed to

fostering its core values in its members. The fraternity’s guiding principle is to foster a culture of

fraternal bonds that creates lifelong relationships built on mutual respect and professionalism while

also helping members balance social, service, and professional activities. Theta Tau prides itself

on its diverse membership, which helps foster diversity in the engineering profession.                  For




        {S0833993.1}                                     6
      Case 5:18-cv-00496-FJS-DEP Document 42 Filed 08/03/18 Page 7 of 38



example, nationwide, two-thirds of Theta Tau members are male and one-third are female as

compared to the national average across engineering schools, which is an imbalanced eighty

percent male and twenty percent female.

       24.            The Tau chapter of the Theta Tau fraternity (the “Chapter”) had forty-eight

members (the “Members”) and had a sixteen-member new recruit cohort (the “Prospective

Members”) at all times relevant to this action. Consistent with Theta Tau’s national principles,

the Chapter includes twenty-eight diverse members, or forty-four percent of its entire membership.

In terms of diversity, the Chapter’s demographics are two times more diverse than the College of

Engineering & Computer Science at the University. The Chapter includes foreign nationals,

African Americans, Asian Americans, Indian Americans, and Central Americans and members of

diverse religious backgrounds. The Chapter is co-educational, and has a history of including both

male and female members.

                                         The March 30, 2018 Roast

       25.            On Friday, March 30, 2018, Plaintiffs (and every other prospective Chapter

member) took part in a Theta Tau Chapter tradition: a “roast” of the Chapter members (the

“Roast”). The Roast is a time-honored Chapter tradition that builds unity by affording new recruits

the opportunity to satirize existing fraternity members.

       26.            Plaintiffs, along with their fellow prospective Chapter members, devised a set of

skits in accordance with tradition. The skits were performed privately at the Chapter’s house. The

Roast was recorded for private viewing by fellow Chapter members who were not able to attend.

The recording was posted in a private Facebook group, which was only accessible to Chapter

members.




       {S0833993.1}                                   7
      Case 5:18-cv-00496-FJS-DEP Document 42 Filed 08/03/18 Page 8 of 38



       27.            On or about April 18, 2018, without authorization, recordings of the Roast were

disseminated to the University and others. In all, the entire Roast was captured in nine recorded

clips, which were all given to University officials. But only two of the nine clips were released to

the public by The Daily Orange. The first clip was released without authorization on April 18,

2018, and is accessible at: https://youtu.be/rwi4gnJSSZg. The second clip was released without

authorization on April 21, 2018, and is accessible at: https://youtu.be/ogDeS_zKUNw. The clips

appear to have been taken by accessing the private Chapter Facebook group, playing the original

recordings, and recording them with another device. The Roast recordings—two unauthorized,

decontextualized clips of the Roast—have become the subject of local and national attention.

       28.            All prospective members, including Plaintiffs, participated in the Roast.

                                        Plaintiffs’ Contractual Rights

       29.            In its Student Handbook, the University includes “Student Rights and

Responsibilities,” which includes the right to:

             a. “Speech/Expression/Press. Students have the right to express themselves freely on

                      any subject provided they do so in a manner that does not violate the Code of

                      Student Conduct. Students in turn have the responsibility to respect the right of all

                      members of the University to exercise these freedoms”;

             b. “Fundamental Fairness. Students have the right to fundamental fairness before

                      formal disciplinary sanctions are imposed by the University for violations of the

                      Code of Student Conduct—as provided in the published procedures of the

                      University’s Conduct System or other official University publications. Students

                      have the right to written notice and the opportunity for a hearing before any change




       {S0833993.1}                                     8
      Case 5:18-cv-00496-FJS-DEP Document 42 Filed 08/03/18 Page 9 of 38



                      in status is incurred for disciplinary reasons unless a significant threat to persons or

                      property exists”; and

             c. “Students have the right to expect a reasonably safe environment supportive of the

                      University mission and their own educational goals. Students have the

                      responsibility to protect and maintain that environment and to protect themselves

                      from all hazards to the extent that reasonable behavior and precaution can avoid

                      risk.”

       30.            The University, at all times mentioned in this Complaint, established, created,

published, and furnished to students on a yearly basis, policies and procedures governing the

administration of penalties related to the aforementioned rules and regulations. Such policies and

procedures were incorporated in and made a part of the Syracuse University’s Student Conduct

System Handbook (the “System”).

       31.            In a portion entitled “Bill of Rights”, the System specifically sets forth some of the

rights of students at the University. Specifically, regarding the rights of the accused, the “Bill of

Rights” states students have the right to:

             a.       Participate in a process that is fair, impartial, and provides adequate notice

                      and meaningful opportunity to be heard;

             b. Access to at least one level of appeal of a determination; and

             c. Be accompanied by an advisor of choice who may assist and advise a

                      reporting individual, accused or respondent throughout the judicial or

                      conduct process including during all meetings related to such process.

       32.            Additionally, Part 4.1 of the System states that the academic status of students

“shall not be changed while a case is pending in the Office of Student Rights and Responsibilities,




       {S0833993.1}                                      9
     Case 5:18-cv-00496-FJS-DEP Document 42 Filed 08/03/18 Page 10 of 38



unless it has been determined by the Director of Student Rights and Responsibilities, in

consultation with the Senior Vice President for Enrollment and the Student Experience, or a

designee, that an interim suspension is required only after a decision has been made that the interim

suspension promotes the safety and well-being of the University community.”

       33.            Part 4.2 of the System states that: “A student who is suspended on an interim basis

pending the outcome of proceedings against them will be given the opportunity to be heard by the

UAB on the merits of the decision to impose the interim suspension within three (3) University

business days of receipt by the Office of Student Rights and Responsibilities of the student's

written request for such a hearing. Such a request must be made by the student within 30 University

business days of the imposition of the interim suspension. If no such request is made, the interim

suspension will remain in effect pending a hearing or Informal Resolution meeting on the merits

of the conduct case. All recommendations of the UAB reviewing the imposition of an interim

suspension are confirmed by the Senior Vice President for Enrollment and the Student Experience

or their designee, and when confirmed, the decision is final and no further review of the interim

suspension status is available.”

       34.            “A hold . . . on the respondent’s academic records until a final resolution of the

complaint” is a distinctive feature of charges pending under Title IX procedures. Part 10.10.

       35.            The provision for a hold on transcripts pending resolution of disciplinary

proceedings is not present in the non-Title IX hearing procedures, Parts 5–9.

       36.            Part 10.12 of the System states that: “Once the investigation report is complete,

both the respondent and the complainant will be given the opportunity to review the report and

provide a written response within three (3) business days both of which will be provided to the

Office of Student Rights and Responsibilities and the other party by the Title IX investigator.”




       {S0833993.1}                                   10
     Case 5:18-cv-00496-FJS-DEP Document 42 Filed 08/03/18 Page 11 of 38



       37.            Part 10.21 of the System states that: “The process of investigation and the Board’s

decision will be concluded within 60 days of the original complaint, pending special

circumstances. If circumstances arise that delays either the investigation or the Board’s

determination of an outcome, both parties will be sent written notification of the delay and its

cause. Each party will receive written notification of the decision of the UCB including a finding

of responsibility, whether sex discrimination was found and sanctions.”

       38.            Part 12.1 of the System states that: “In cases of violence related violations, sexual

assault, stalking, gender-related harassment, or domestic/relationship violence, decisions of the

respective Boards are effective immediately” but “[i]n all other cases, decisions of the respective

Boards are effective immediately, unless a written notice of intention to appeal has been received

by the Office of Student Rights and Responsibilities within one business day after the confirmed

decision is made available.” (emphasis added).

       39.            Part 12.8 of the System states that: “The UAB will make a decision based on the

written submissions within three (3) business days after all written submissions are received, or

indicate in writing what further process is necessary for final resolution.”

                          The University’s Impulsive and Unfounded Punishment
                             Without Proper and Appropriate Investigation:
                                              April 18, 2018

       40.            On April 18, 2018, the Roast recordings were released without authorization.

       41.            At 11:05am on April 18, 2018, the Director of the Office of Student Rights and

Responsibilities, PAMELA PETERS, emailed the Chapter stating it had been “suspended.”

       42.            Just twenty-nine minutes later, the Chancellor, KENT SYVERUD, sent a campus-

wide email identifying the Chapter as the originator of a video containing “extremely troubling

and disturbing conduct.” After identifying the fraternity, the Chancellor characterized the “words




       {S0833993.1}                                    11
      Case 5:18-cv-00496-FJS-DEP Document 42 Filed 08/03/18 Page 12 of 38



and behaviors” in the Roast recording as “extremely racist, anti-Semitic, homophobic, sexist, and

hostile to people with disabilities.”

        43.            At approximately 4:30pm on April 18, 2018, the Dean of the College of

Engineering and Computer Science, TERESA ABI-NADER DAHLBERG, sent an email stating,

“the Syracuse University campus was shown very ugly, disturbing behavior displayed by some of

our students” insofar as “[a] series of videos was uncovered that showed some members of the

Theta Tau professional engineering fraternity using racist, anti-Semitic, homophobic, sexist, and

ableist language.”

      The University’s Continued Disparagement Without a Meaningful Investigation:
                             April 19, 2018 to April 23, 2018

        44.            Over the ensuing seven days (and until this day), the University followed the pattern

it established on April 18, 2018: labelling Plaintiffs as racist, anti-Semitic, homophobic, sexist,

and hostile to people with disabilities in spite of its ongoing investigation which confirmed the

actual, satirical intent of the Roast.

        45.            The Department of Public Safety, including Detective Michael Toia, received nine

videos of the Roasts. Detective Michael Toia and other University detectives conducted interviews

of many members. Many of these interviews were recorded without the students’ knowledge.

During the interviews, the interviewed members consistently explained that the Roast was a skit,

a roast, that the participants consented to performing or viewing the Roast, and that the students

had no intent to harass or offend anyone. Indeed, the members stated the purpose of the skits were

to use hyperbole and “shock comedy” to entertain the members, but not to target any member.

        46.            Multiple Syracuse University officials commented on The Roast recordings

published by The Daily Orange between April 19, 2018 and April 23, 2018. In their comments,

University officials repeatedly decontextualized and intentionally distorted selected content of the



        {S0833993.1}                                    12
      Case 5:18-cv-00496-FJS-DEP Document 42 Filed 08/03/18 Page 13 of 38



recordings to malign Plaintiffs as a part of the University’s public relations response campaign.

Instead of recognizing the satirical context that was obvious from all nine videos in the

University’s possession, University officials selectively commented on snippets suggest or state

that the excerpts depicted harmful, offensive, and even violent or criminal conduct as well as the

seriously held views of the participants. University officials made numerous false statements of

fact in the first eight days after the videos’ public release:

              a. Chancellor KENT SYVERUD claimed the Roast recordings exhibited “extreme

                       and egregious racism, sexism, ableism, antisemitism and homophobia,” completely

                       ignoring Theta Tau members’ repeated explanations that, when viewed in context,

                       the Roast recordings were merely satirical portrayals of racists, sexists, or anti-

                       semites;

              b. Dean of Students ROBERT HRADSKY stated the video depicted “sexual and

                       relationship violence” when it parodied sexual acts that, by any objective view may

                       have been offensive, but did not involve actual violence;

              c. Chancellor KENT SYVERUD then again stated, “I believe the second video

                       depicts egregious behavior, including sexual assault, violence and discriminatory

                       mockery and hostility toward people with disabilities that is unacceptable and

                       deeply harmful in many ways,” without addressing the Roast’s context.

        47.            Several times, University officials described the conduct as “criminal” even after

Onondaga County District Attorney William Fitzpatrick stated there was “nothing” criminal about

the videos. Reviewing the videos in context, District Attorney Fitzpatrick drew the reasonable

conclusion that the University chose to ignore: while the video depicted “rank stupidity, . . . luckily

stupidity is not a crime.”




        {S0833993.1}                                   13
     Case 5:18-cv-00496-FJS-DEP Document 42 Filed 08/03/18 Page 14 of 38



       48.            Upon information and belief, the University willfully ignored the context of the

skits despite its possession of all nine videos and despite having completed an investigation that

included interviewing nearly all fraternity members involved in the Roast.

       49.            On or about April 21, 2018 the University sent eighteen students, including all nine

Plaintiffs, the same letter informing them that a complaint was filed against them by the

Department of Public Safety (the “Charging Letters”). The Charging Letters alleged various

violations of Syracuse University Code of Conduct and policies that were all patently irrelevant to

the skits. Specifically, the University alleged that Plaintiffs had committed the following offenses

in violation of the Code:

             a. Physical harm or threat of physical harm to any person or persons, including

                      but not limited to assault, sexual abuse, or other forms of physical abuse

                      even though there was no evidence anyone was physically threatened or

                      harmed;

             b. Harassment-whether physical, verbal or electronic, oral, written or video-

                      which is beyond the bounds of protected free speech, directed at a specific

                      individual(s), easily construed as ‘fighting words,’ or likely to cause an

                      immediate breach of the peace even though the fraternity members and

                      involved participants denied anyone was targeted or harassed by the skits;

             c. Conduct—whether physical, verbal or electronic, oral, written or video—

                      which threatens the mental health, physical health, or safety of any person

                      or persons including, but not limited to hazing, drug or alcohol abuse,

                      bullying and other forms of destructive behavior even though no individual

                      complainant claimed to have been threatened or harmed by the videos;




       {S0833993.1}                                    14
     Case 5:18-cv-00496-FJS-DEP Document 42 Filed 08/03/18 Page 15 of 38



             d. Illegal use, possession, purchase, distribution, manufacture or sale of

                      alcohol, drugs or controlled substances, or any other violation of the

                      Syracuse University Policy on Alcohol, Other Drugs, and Tobacco even

                      though there was no evidence that alcohol or drugs were present during the

                      skits;

             e. Violation of University policies, rules or regulations that are published in

                      the Student Handbook, or other official University publications or

                      agreements;

             f. Office of Fraternity and Sorority Affairs Policy; and

             g. Syracuse University Anti-Harassment Policy.

       50.            After sending the Charging Letters, the University continued its public relations

campaign aimed at distancing the University from the incident by decrying the conduct as, amongst

other things, racist and ethnically discriminatory. Key University figures, including Defendants,

Kent Syverud, Robert Hradsky, and Teresa Abi-Nader Dahlberg, spoke every few hours or days

about the incident, thus fueling concern and protests in the University community.

       51.            On or about April 22 and 23, 2018, Plaintiffs were notified that in addition to being

charged with the aforementioned misconduct, they were suspended from attending any classes,

labs, or academic functions at the University. While the University claimed this “suspension” was

for the safety and wellbeing of the University community, there was no evidence any of the

Plaintiffs posed any threat. Indeed, the University tacitly acknowledged as much by allowing

Plaintiffs the opportunity to remain in University housing, eat in University cafeterias, and remain

on campus while being banned from academic resources.




       {S0833993.1}                                    15
     Case 5:18-cv-00496-FJS-DEP Document 42 Filed 08/03/18 Page 16 of 38



       52.            While the students were “suspended,” the Chief of the Syracuse University

Department of Public Safety stated, “[o]ut of an abundance of caution and ongoing concern for

our campus community” the students were suspended. His statement made no reference to a threat

to the public safety or welfare of any individuals.

       53.            The Plaintiffs (and the similarly situated students) were all placed under an

unauthorized quasi-suspension enacted by the University to skirt its well-established rules and

effectively expel the Plaintiffs without proper process. In the eight days after the videos were

released, in violation or contravention of its procedures, the University:

             a. Placed the students on an unauthorized, improper “suspension”;

             b. Mischaracterized the Roast repeatedly;

             c. Mislabeled the Plaintiffs as racist, anti-semitic, homophobic, sexist, and hostile to

                      people with disabilities; and

             d. Allowed Theta Tau and Plaintiffs (amongst others) to be treated abusively, creating

                      a hostile campus.

                                             The UCB Hearings:
                                       April 19, 2018 to April 23, 2018

       54.            The University’s behavior continued throughout the disciplinary process and, more

specifically, continued at the hearings. During the UCB hearings, Plaintiffs raised a plethora of

procedural infirmities and made timely objections to the inclusion or exclusion of evidence.

Plaintiffs’ objections were uniformly denied or deferred and not addressed substantively during

the hearing or in the UCB’s written decisions. By way of non-exhaustive illustration, the hearings

involved the following procedural infirmities (amongst many others):




       {S0833993.1}                                   16
Case 5:18-cv-00496-FJS-DEP Document 42 Filed 08/03/18 Page 17 of 38



       a. Even though each Plaintiff had an individual role in the skits or fraternity, the

                University began by announcing that it would charge and prosecute all sixteen

                respondents in a single group hearing;

       b. At the group hearing, the UCB was comprised of three non-tenured University

                employees despite the fact that the University was the complainant, investigator,

                prosecutor, judge, and jury in the disciplinary proceedings. The UCB did not allow

                any meaningful inquiry into the potential bias of the panel members;

       c. Further, the UCB chair allowed a University-chosen attorney-advisor to puppeteer

                the proceedings and impermissibly allowed alternate panel members to steer

                questioning and influence the hearings;

       d. Eric Nestor, an Office of Student Rights and Responsibilities employee who was

                administering the process on the University’s behalf, improperly—and

                frequently—consulted with the UCB during the hearings and stayed in the hearing

                room during breaks when attorney-client conversations were occurring;

       e. The UCB repeatedly rephrased or refused to ask questions posed by Plaintiffs to

                Detective Toia and amongst co-respondents, hampering Plaintiffs’ ability to

                develop evidence or even enter evidence against the University’s case;

       f. The UCB refused to hear “procedural” objections that was not based on “new

                evidence”; and

       g. The UCB refused to allow the respondents to present rebuttal evidence even after

                newly discovered evidence came to light, curtailed questioning of key Complainant

                witnesses, and ultimately prevented respondents’ from making a record of

                objections at the conclusion of the hearing.




 {S0833993.1}                                    17
     Case 5:18-cv-00496-FJS-DEP Document 42 Filed 08/03/18 Page 18 of 38



       55.            The UCB proceedings were infected with countless procedural errors that

individually and cumulatively had a detrimental impact on the outcome of the hearing, which were

noted on the record during the hearings and in various letters submitted to the UCB. Those errors,

individually and cumulatively, deprived Plaintiffs of a fair, impartial hearing on the merits, a

reason for reversal under Code of Student Conduct section 12.3(b). However, due to University-

imposed constraints of Code section 12.2, which limited Plaintiffs’ administrative appeals to ten

double-spaced pages, Plaintiffs were not able to address the many, varied procedural errors that

occurred.

       56.            On June 5, 2018, the UCB issued its decisions, finding all Plaintiffs responsible for

Code of Conduct violations. Notably, however, the decision noted that the University had

inexplicably withdrawn its Title IX claims “during deliberations.”                  Notwithstanding the

withdrawal, University officials continued to operate under Title IX procedures. Thus, the

University maintained it could continue the holds on Plaintiffs’ accounts (a right reserved for Title

IX cases) until resolution of the disciplinary proceedings, even while Plaintiffs’ UAB appeals were

pending. Similarly, although the University’s own procedures, which state that the UCB decisions

are not immediately effective pending appeal except in Title IX cases, the University marked

Plaintiffs’ transcripts as a result of the UCB decisions after withdrawing the Title IX charges.

                                             The UCB Decisions:
                                                June 5, 2018

       57.            The UCB issued decisions on June 5, 2018 (the “UCB Decisions”) that ignored the

evidence presented at the hearing and declined to consider the context of the satirical Roast. The

UCB Decisions found Plaintiffs responsible for harassment, conduct threatening the mental or

physical health or safety of others, and violations of University policy in violation of Code of

Conduct sections 2, 3, and 15. As discussed above, the University withdrew its Title IX charges



       {S0833993.1}                                    18
     Case 5:18-cv-00496-FJS-DEP Document 42 Filed 08/03/18 Page 19 of 38



during the UCB’s deliberations. Additionally, the UCB Decisions determined that Plaintiffs were

not responsible for violations of the University’s drug and alcohol policy and did not cause or

threaten physical harm to others, absolving Plaintiffs of liability under Code of Conduct sections

1 and 10.

       58.            The UCB Decisions: (1) failed to recognize that the Roast was protected free speech

under the Code; (2) failed to take into account the time, place, and manner of the Roast, which was

conducted in the Theta Tau house’s basement for members only, and, although recorded, was only

posted to a private Facebook group by a Theta Tau member for privately viewing of Theta Tau

members who understood the satirical skits the context of the performances; and (3) failed to

delineate between the conduct (and effects of the conduct) attributable Theta Tau members

(performing the skit and posting it to a private, members-only Facebook group) and the conduct

(and effects of the conduct) attributable to the unauthorized release and dissemination of the

material by others. Specifically, the UCB reasoned as follows:

             a. Contrary to the UCB’s ruling, the Roast is within the bounds of protected free

                      speech. The Roast—as satire implicating political and social issues—is core

                      protected speech. The Board specifically found that the speech was a “skit that

                      roasted current members” and that “the actions and language are not representative

                      of the Respondent[s] personal beliefs.” For this reason alone, the decision suffers

                      from an error in the interpretation of University policy, rendering it arbitrary and

                      capricious.

             b. After specifically stating that the speech was a “skit that roasted current members”

                      and that “the actions and language are not representative of the Respondent[s]

                      personal beliefs,” the Board found Plaintiffs responsible for violating section 2,




       {S0833993.1}                                    19
Case 5:18-cv-00496-FJS-DEP Document 42 Filed 08/03/18 Page 20 of 38



                which prohibits “[h]arassment—whether physical, verbal or electronic, oral,

                written or video—which is beyond the bounds of protected free speech, directed at

                a specific individual(s), easily construed as ‘fighting words,’ or likely to cause an

                immediate breach of the peace.” The UCB based its decision on the premise that a

                person hearing the language in these scenes would become upset, reactive, and

                responsive to its content, “breaching the peace of that person’s environment.” In

                reaching this conclusion, the UCB relied on the context of the seven videos which

                were never released to the public.

       c. By ignoring the context of the Roast—which took place in a private Theta Tau

                residence in the presence of members only—and by failing to acknowledge the

                consequence of the Theta Tau members’ intent to keep the videos private, the UCB

                improperly determined that the videos were “likely to cause an immediate breach

                of the peace.” The UCB’s conclusion was fundamentally flawed for several

                reasons:

                    i.     The speech did not cause an immediate breach of the peace. The speech

                           took place during a members-only Theta Tau event in the basement of the

                           Theta Tau house. Everyone in attendance understood the context of the

                           Roast and knew that it was not an incitement to violence. And the UCB

                           did not find that any one in attendance was offended by the speech. It was

                           not until weeks after the skits were performed that anyone outside Theta

                           Tau ever knew about the event. Thus, the effect of the alleged harassing

                           speech could not possibly have been immediate;




 {S0833993.1}                                     20
Case 5:18-cv-00496-FJS-DEP Document 42 Filed 08/03/18 Page 21 of 38



                ii.    The conduct attributable to Theta Tau members—performing a private

                       “roast” in the private space of the Theta Tau house—cannot be a breach

                       of the peace. As Merriam-Webster, New York law, and Federal law all

                       state, a breach of the peace requires a public act that disturbs the public

                       peace and order by definition. The UCB specifically found that the event

                       happened “at the Theta Tau house” and not in public;

                iii.   The University failed to separate the speech (i.e. what was said in the

                       basement of Theta Tau in the presence of Theta Tau members and had no

                       known negative impact) from the unauthorized release of the videos,

                       which was the result of the actions of a third party. The third party’s

                       choice to disseminate those videos to The Daily Orange and the

                       University and the voluntary consumption of this media by the public

                       caused widespread offense, but these actions should not have been

                       attributed to Plaintiffs in the absence of evidence they intended public

                       dissemination of the content;

                iv.    The UCB’s decision is based on the premise that “a person hearing the

                       language in these scenes would become upset, reactive, and responsive to

                       its content, thereby breaching the peace of that person’s environment,”

                       which is patently wrong. The UCB could not cite any actual evidence

                       that anyone at the Roast was upset, or became reactive or responsive to

                       the conduct attributable to Plaintiffs. Indeed, all who were in attendance

                       or participated in the skits knew they were designed to satirize absurd

                       views, including those of racists and sexists.




 {S0833993.1}                                  21
Case 5:18-cv-00496-FJS-DEP Document 42 Filed 08/03/18 Page 22 of 38



       d. Further, even if the content of the videos leaked to the public could be attributable

                to Plaintiffs, the UCB improperly considered seven unreleased videos that were

                never publically disseminated in considering the harassment charge.             The

                undisputed evidence presented at the hearing is that only two video clips were made

                public by The Daily Orange and that no one at Theta Tau was offended by the

                conduct depicted in the videos while it was occurring.

       e. The UCB conclusorily stated that “the conduct in the skits caused others in the

                community to feel threatened” in violation of Code of Conduct section 3, which

                prohibits “[c]onduct—whether physical, verbal or electronic, oral, written or

                video—which threatens the mental health, physical health, or safety of any person

                or persons including, but not limited to hazing, drug or alcohol abuse, bullying or

                other forms of destructive behavior.” However, the UCB failed to identify any

                specific person or persons who claimed to “feel threatened” by the videos.

                Moreover, the UCB relied on videos that were never released to the public in

                deciding “the community” was threatened.

                    i.   The Roast, and the videos of it, do not threaten the mental health or safety

                         of any individual. The UCB’s conclusory statement that “the conduct in

                         the skits caused others in the community to feel threatened” is not

                         supported by the evidence or by objective facts. Indeed, the open forum

                         that the UCB referenced in its decision shows the alleged “threats” to

                         health and safety problems faced by the Syracuse University community

                         discussed by the UCB in its decision are far-reaching and longstanding.




 {S0833993.1}                                    22
Case 5:18-cv-00496-FJS-DEP Document 42 Filed 08/03/18 Page 23 of 38



                   ii.   The University presented no evidence to establish any community

                         member’s mental health or safety was directly threatened as a result of

                         conduct committed by Theta Tau members. The UCB took issue with the

                         dissemination roast’s videos to the University community, which is not

                         attributable to Theta Tau members. As a further matter, when members

                         of the public clicked on the link posted by The Daily Orange and watched

                         the videos, they knew before they started watching the content based on

                         the widespread news coverage of the story what they would see.

                  iii.   The University, as the Complainant, is not a victim as contemplated by

                         the Code. Here, the University took the role of Complainant and never

                         established that its mental health or safety was threatened, or that it had

                         mental health to be threatened.

                   iv.   While only two clips were made public by The Daily Orange, the UCB

                         relied on all nine videos to claim impact on the University community.

                         However, only publically disseminated videos could have had an effect

                         outside the private Theta Tau house.

       f. All respondents were found responsible for violating the “sexual abuse and

                harassment” portion of the Fraternity and Sorority Affairs’ Event Management

                Guidelines and Community Expectations policy. This section, however, only

                applies to “[c]hapters” which are prohibited from tolerating or condoning any form

                of sexist or sexually abusive behavior on the part of its members.” This section has

                no application to individual students on its face and, in any event, a satirical




 {S0833993.1}                                    23
Case 5:18-cv-00496-FJS-DEP Document 42 Filed 08/03/18 Page 24 of 38



                performance which parodied sexual acts, does not constitute sexual abuse or

                harassment.

                    i.   None of the pledges were actually members of the fraternity at the time of

                         the roast. For this reason alone, the pledges were not subject to the policy

                         and had no duties under the policy regardless of its content. Consistent

                         with this policy’s organizational applicability, the chapter has been

                         punished separately.

                   ii.   Even assuming the policy applied, there was no reason to object to the

                         skits. The skits were neither sexist nor sexually abusive because they

                         were over-the-top, satirical skits about exaggerated qualities of the

                         members. As the UCB found, none of the skits actually involved sexually

                         abusive or sexist behavior; the UCB repeatedly found the acts were only

                         simulated. As to the scene involving the “whipped” brother, the skit was

                         not only satire, but also a replication of an actual comedian’s skit that is

                         posted on YouTube. Plaintiffs voluntarily participated because they

                         understood the context of skits—a satirical roast—and so there was no

                         reason to object to the skits.

       g. All respondents were found responsible for violating the Syracuse University Anti-

                Harassment policy, which uses the identical language to the sexual harassment

                policy, even after the University ultimately concluded was not applicable to this

                case. The Anti-Harassment policy is no different than the sexual harassment policy

                that the University withdrew.      The only difference is that under the sexual

                harassment policy the harassment has to be because of sex, gender, or sexual




 {S0833993.1}                                    24
Case 5:18-cv-00496-FJS-DEP Document 42 Filed 08/03/18 Page 25 of 38



                orientation whereas the anti-harassment policy covers a broader range of protected

                classes, including race, religion, and ethnicity. The generic Anti-Harassment policy

                still only applies to conduct directed at protected groups. The policy prohibits

                “unwelcome conduct or speech directed at an individual or group of individuals,

                based on a Protected Category, which is so severe or pervasive that it unreasonably

                interferes with an individual’s work performance, terms of employment,

                educational program participation, or it creates an intimidating, hostile, or offensive

                environment for study, work, or social living.” “To qualify as Harassment under

                this policy, the speech or conduct must be both viewed by the listener(s) as

                Harassment, and be objectively severe or pervasive enough that a reasonable person

                would agree that the speech or conduct constitutes Harassment.” The policy

                dictates that all the circumstances surrounding the speech, as well as the speakers’

                intent, must be considered. The policy “is meant to promote free speech.” To that

                end, the policy “is not intended, and may not be applied, to abridge the free speech.”

                The decision focuses on the “horrid content of the video,” which it finds objectively

                and subjectively caused a negative effect on the community and created a hostile

                work environment; the decision acknowledges that the video was only meant for

                private consumption but ultimately claims that the intent to keep the video private

                is irrelevant. The UCB Decisions arbitrarily and capriciously ignored evidence

                presented during the hearings and misinterpreted the clear provisions of the Code

                of Conduct in the following ways:

                    i.   The skits were not directed at any individual or group of individuals.




 {S0833993.1}                                     25
Case 5:18-cv-00496-FJS-DEP Document 42 Filed 08/03/18 Page 26 of 38



                ii.    The videos are not harassment when viewed objectively and under all the

                       circumstances presented, as the Anti-Harassment policy requires. The

                       UCB failed to account for the satirical nature of the skits in its decisions.

                       Indeed, it was undisputed by the UCB that the skits were intended to be

                       satirical. The videos do not “speak for themselves” as they do not include

                       the context surrounding the performance. Moreover, on their face, the

                       videos show an over-the-top parody, narrated for the purpose of

                       emphasizing the obvious satire. Further, as the UCB found, the views

                       expressed in the videos were not the personal views of the Plaintiffs.

                iii.   The University could not logically withdraw the sexual harassment charge

                       and not the harassment charge since the conduct had nothing to do with

                       sex, sexism, or discrimination against protected groups. Further, the

                       policy, by its own terms, could not “be applied to abridge” free speech,

                       which skits indisputably characterized the skits.

                iv.    The conduct attributable to Plaintiffs was not unwelcome to its intended

                       audience because the Theta Tau members—the intended audience—were

                       all aware that the satirical skits were a part of the traditional roasting of

                       current members and were not offended.

                 v.    The listeners who viewed the skits at Theta Tau or through the private

                       Facebook group were all Theta Tau members who, understanding the

                       context of the videos, were not offended and did not view the conduct as

                       harassment. Neither the third party’s actions in recording the videos




 {S0833993.1}                                  26
     Case 5:18-cv-00496-FJS-DEP Document 42 Filed 08/03/18 Page 27 of 38



                               without authorization nor The Daily Orange’s actions in publishing the

                               recordings are attributable Plaintiffs.

                         vi.   Only the two videos released by The Daily Orange are even eligible to be

                               considered as a basis for this charge. The undisputed evidence presented

                               at the hearing is that only two clips were made public by The Daily

                               Orange and thus those are the only videos that could have had an effect

                               outside the private Theta Tau house.

       59.            As a result of the UCB Decisions, Plaintiffs were suspended for between one and

two years, the University placed disciplinary notations on Plaintiffs’ transcripts, and the UCB

instituted onerous conditions on Plaintiffs’ ability to resume coursework after the suspension.

       60.            Plaintiffs appealed the UCB Decisions to the UAB in a timely and proper manner.

                                          The UAB Proceedings:
                                        June 8, 2018 to July 26, 2018

       61.            The UAB received Plaintiffs’ appeals by 5:00pm on June 8, 2018.

       62.            The Complainant declined to offer any written response to Plaintiffs’ appeals.

       63.            Despite withdrawing the Title IX claim against Plaintiffs, the University refused to

provide Plaintiffs a transcript without disciplinary notations during the pendency of their appeals.

       64.            Further, for over a month and a half, while transfer deadlines were passing at other

institutions, the UAB failed to render a decision.

       65.            The UAB finally issued decisions to Plaintiffs on July 26, 2018 (the “UAB

Decisions”).

       66.            With one exception UAB Decisions sustained the UCB decisions in all respects,

finding Plaintiffs responsible for the violations discussed above and overruling all of Plaintiffs’

objections to the UAB. In connection with the appeal of John Doe #1, the only non-pledge member



       {S0833993.1}                                    27
      Case 5:18-cv-00496-FJS-DEP Document 42 Filed 08/03/18 Page 28 of 38



of Theta Tau who was prosecuted, the UAB reduced his punishment from suspension to academic

probation.

       67.            The UAB Decisions finalized the disciplinary process.

                               AS AND FOR A FIRST CAUSE OF ACTION
                                    FOR BREACH OF CONTRACT

       68.            Plaintiffs repeat and reallege the allegations set forth in paragraphs “1” through

“67” with the same force and effect as if fully set forth herein.

       69.            Plaintiffs were accepted by the University and enrolled as students for programs of

study which upon completion would lead to the awarding of degrees in the respective fields of

each student.

       70.            Upon the acceptance of Plaintiffs as students at the University, and their continued

enrollment as students, defendants formed a contract with each of the Plaintiffs. The terms of this

contract provided that in return for Plaintiffs continued payment of tuition, charges, and fees, along

with satisfying Plaintiffs’ respective courses of study, abiding by the rules, regulations, and

requirements set forth in the University’s Code of Conduct, Plaintiffs would obtain a degree in

each of their respective fields.

       71.            The contract between Plaintiffs and the University additionally required the

University to treat Plaintiffs in good faith in accordance with a University-imposed, contractual

“fundamental fairness” standard.            This obligation extended to the disciplinary process, and

prohibited the University from acting in any manner which was arbitrary and capricious related to

the administration of its rules, regulation, or judiciary system. Specifically, the University agreed

that it would substantially comply with its own policies, procedures, and guidelines before taking

any action that would negatively harm Plaintiffs, including disciplinary proceedings.




       {S0833993.1}                                    28
     Case 5:18-cv-00496-FJS-DEP Document 42 Filed 08/03/18 Page 29 of 38



       72.            The University established, created, published and furnished to students on a yearly

basis, policies, rules, and regulations outlining the expectations of the parties to the academic

contract. These expectations were evident in the Statement of Student Rights and Responsibilities,

the Student Bill of Rights, the Student Conduct Procedures, the University’s Office of Fraternity

and Sorority Affairs Policy (the “F&S Policy”), and the University’s Anti-Harassment Policy.

       73.            The University established, created, published, and furnished to students on a

yearly basis policies and procedures laid out in the System, which governed the administration of

penalties related to the aforementioned rules and regulations. These policies and procedures also

constituted some of the terms of the contract between Plaintiffs and the University.

       74.            Defendants disregarded Plaintiffs’ contractually-protected “Student Rights” as

provided for in the Student Handbook, by:

             a. Violating Plaintiffs’ right to express themselves freely and, instead, punishing

                      Plaintiffs for exercising their right to free speech and satire;

             b. Denying Plaintiffs fundamental fairness in the disciplinary process by failing to

                      impartially investigate claims and follow the University’s disciplinary procedures;

             c. Placing Plaintiffs on quasi-suspension without cause or authority and without a

                      hearing;

             d. Denying Plaintiffs fundamental fairness by infecting the UCB proceedings with

                      innumerable procedural errors that resulted in prejudice and/or bias;

             e. Placing a hold on Plaintiffs’ transcripts based on frivolous Title IX charges and

                      continuing to place a hold on Plaintiffs’ transcripts after the Title IX charges were

                      dropped;




       {S0833993.1}                                     29
     Case 5:18-cv-00496-FJS-DEP Document 42 Filed 08/03/18 Page 30 of 38



             f. Placing disciplinary notations on Plaintiffs’ transcripts while appeals of non-Title

                      IX-related charges were pending; and

             g. Failing to protect Plaintiffs by failing to take steps to reasonably protect their

                      identities or curb a threatening atmosphere fostered by the University Officials’

                      unwarranted statements regarding Plaintiffs’ status as racists, homophobes, and

                      anti-semites, among other things.

       75.            Defendants denied Plaintiffs the contractual rights contained in the University’s

“Bill of Rights” by:

             a. Charging them with patently inapplicable violations of the Code of Conduct;

             b. Prejudging and publically proclaiming Plaintiffs were violent or even criminal

                      bigots, sexual harassers, and hostile to people with disabilities;

             c. Denying Plaintiffs fundamental fairness by infecting the UCB proceedings with

                      innumerable procedural errors that resulted in prejudice and/or bias;

             d. Placing a hold on Plaintiffs’ transcripts based on frivolous Title IX charges and

                      continuing to place a hold on Plaintiffs’ transcripts after the Title IX charges were

                      dropped;

             e. Placing disciplinary notations on Plaintiffs’ transcripts while appeals of non-Title

                      IX-related charges were pending; and

             f. Denying Plaintiffs the right to advisors to assist them during all meetings related to

                      the disciplinary process.

       76.            On or about April 21, 2018, Plaintiffs (and 14 other member of Theta Tau

fraternity) received identical Charging Letters from the University. The Charging Letters alleged




       {S0833993.1}                                     30
     Case 5:18-cv-00496-FJS-DEP Document 42 Filed 08/03/18 Page 31 of 38



violations of the Code of Conduct that were patently inapplicable to the conduct of the Plaintiffs

based on the Roast’s intent and satirical subject matter.

       77.            In conjunction with receipt of the Charging Letters, Plaintiffs were informed that

they were “suspended,” even though the University did not following the procedures in Part 4.1 of

the System, which governs “interim suspensions” while disciplinary actions are pending.

       78.            After suspending Plaintiffs without notice and prohibiting them from attending

class or University functions, Defendants specifically denied that Plaintiffs had been placed on an

“interim suspension.”           Defendants’ improper “quasi-suspension” of Plaintiffs breached the

procedures set forth in the parties’ contract.

       79.            The practical effect of Defendants’ improper suspension of Plaintiffs was to deny

Plaintiffs the opportunity to formally appeal the suspension decision in accordance with Part 4.2

of the System.

       80.            The unauthorized “quasi-suspensions” prevented Plaintiffs from attending classes

or review sessions during the final two weeks of the spring semester, participating in any and all

academic activities, and successfully finishing the academic year. The University’s failure to

follow proper policies and procedures and caused significant prejudice to the students in the form

of diminished academic performance.

       81.            The University did not take any meaningful steps to adequately accommodate

Plaintiffs and failed to ensure the students could meaningfully continue their academic studies,

complete examinations and complete examinations or other evaluations under the conditions of

their improper suspension.




       {S0833993.1}                                   31
     Case 5:18-cv-00496-FJS-DEP Document 42 Filed 08/03/18 Page 32 of 38



       82.            The University further breached its contract when the UCB rendered decisions—

described in detail in Paragraph “58”—which punished Plaintiffs for their exercise of free speech.

The UAB affirmed these flawed results.

       83.            Accordingly, the actions undertaken by the University constituted a breach of

contract with Plaintiffs. These breaches of contract have delayed and impeded their ability to

obtain their respective degrees.

       84.            The University’s actions have caused Plaintiffs damage in the inability to timely

complete their education and resulted in the loss of jobs, scholarships, grants, and other financial

funding for their education.

       85.            The University’s actions in suspending Plaintiffs without cause resulted in the

immediate, irreparable injury that has no adequate remedy at law because Plaintiffs will not be

able to recover from the stigma of being suspended without cause by the University.

       86.            The University’s actions have continued to immediately and irreparably harm

Plaintiffs, who do not have an adequate remedy at law.

                             AS AND FOR A SECOND CAUSE OF ACTION
                              FOR VIOLATING THE IMPLIED DUTY OF
                                 GOOD FAITH AND FAIR DEALING

       87.            Plaintiffs repeat and reallege the allegations set forth in paragraphs “1” through

“86” with the same force and effect as if fully set forth herein.

       88.            Implicit in the aforementioned contract between Plaintiffs and the University is the

covenant of good faith and fair dealing, which establishes that the University had, and continues

to have, a duty to fairly, justly, and impartially investigate, adjudicate, allow for appeal, and

otherwise handle this matter while following the policies and procedures set forth in the System.




       {S0833993.1}                                    32
      Case 5:18-cv-00496-FJS-DEP Document 42 Filed 08/03/18 Page 33 of 38



        89.            The University has breached the duty of good faith and fair dealing by failing to

adjudicate this matter as required by the System. As discussed above, the University used

improper procedures and imposed improper penalties.

        90.            Specifically, Senior Vice President of Enrollment and the Student Experience

Dolan Evanovich at the University has stated when referring to the adjudicative process here that

“[the University is] really trying to compress [the adjudicative process’s] timeline.”

        91.            The University’s initial race to punish Plaintiffs for their involvement in the Roast

and then “slow walk” of the UCB and the UAB decisions denied Plaintiffs the right to adequate

process. Specifically, the University did not permit the Plaintiffs to appeal the University’s to alter

their status during disciplinary proceedings by placing them under quasi-suspension. By initially

charging Plaintiffs improperly under Title IX and then withdrawing the charges, the University

deprived Plaintiffs of their right to a stay of the UCB’s decision pending appeal. The delay in

issuing UAB decisions, which essentially “rubber stamped” what the UCB already concluded,

deprived Plaintiffs of the ability to transfer to other institutions.

        92.            The University also failed to provide academic accommodations to ensure that the

students were permitted to complete their studies in a satisfactory manner during the disciplinary

process.

        93.            Instead, the University misguidedly punished the students before allowing them a

hearing, fundamental fairness, or any meaningful process as provided for in the Student Handbook.

        94.            As discussed above, including, but not limited to, in Paragraphs “54” through “56”,

the University further breached the covenant of good faith and fair dealing by administering the

disciplinary process in an unfair and unjust way, precluding any meaningful hearing on the merits

for Plaintiffs.




        {S0833993.1}                                    33
        Case 5:18-cv-00496-FJS-DEP Document 42 Filed 08/03/18 Page 34 of 38



         95.            Accordingly, the University has breached the implied covenant of good faith and

fair dealing not only failed to provide the students with the adjudicative process outlined in the

System.

         96.            The University’s actions in suspending Plaintiffs without cause resulted in an

immediate, irreparable injury that had no adequate remedy at law.

                       AS AND FOR A THIRD CAUSE OF ACTION
                FOR BREACH OF CONTRACT FOR VIOLATING PLAINTIFFS’
               CONTRACTUALLY PROTECTED FIRST AMENDMENT RIGHTS

         97.            Plaintiffs repeat and reallege the allegations set forth in paragraphs “1” through

“96” with the same force and effect as if fully set forth herein.

         98.            As stated above, the University alleged Plaintiffs harassed others in violation of the

Code. But, as demonstrated by the clear, unambiguous and plain text reading of the Code,

Plaintiffs cannot be found in violation of this provision unless the questioned speech is “beyond

the bounds of protected free speech” or “easily construed as fighting words,” which is not the case

here.

         99.            A fair, objective, and reasonable viewing of the skit clearly demonstrates that

Plaintiffs’ conduct such speech was not “beyond the bounds of free speech” as defined by the First

Amendment; specifically, Plaintiffs conduct in the Roast did not constitute “fighting words” by

any definition.

         100.           Despite this clear and unambiguous text of the Code, and Supreme Court

jurisprudence demonstrating Plaintiffs’ conduct in the Roast does constitute protected speech, the

University used Plaintiffs’ satirical Roast as pretext to create a for conduct not specifically

prohibited or addressed in the Code or University policies.




         {S0833993.1}                                    34
     Case 5:18-cv-00496-FJS-DEP Document 42 Filed 08/03/18 Page 35 of 38



       101.           Accordingly, the actions undertaken by the University and set forth above

constitute a breach of contract with Plaintiffs and have infringed on Plaintiffs’ contractually-

guaranteed First Amendment rights. The University’s actions in suspending Plaintiffs without

cause has resulted in the immediate, irreparable injury that has no adequate remedy at law.

            AS AND FOR A FOURTH CAUSE OF ACTION AGAINST DEFENDANTS,
                      KENT SYVERUD, ROBERT HRADSKY,
                      AND TERESA ABI-NADER DAHLBERG,
                             FOR DEFAMATION

       102.           Plaintiffs repeat and reallege the allegations set forth in paragraphs “1” through

“101” with the same force and effect as if fully set forth herein.

       103.           The Defendants, individually or by and through their agents, servants, or

employees, knowingly or negligently, published, distributed, and circulated false accusations and

statements regarding Plaintiffs and the Roast.

       104.           Upon information and belief, officials at the University have intentionally,

purposefully, and repeatedly decontextualized, intentionally distorted, and consciously used

selected video clips at their disposal for the purposes of presenting the Roast in a false light in

furtherance of the University’s public relations campaign.

       105.           Indeed, the University has purposefully and intentionally ignored its own

investigation which confirmed the satirical nature and intent of the roast; instead, University

officials have characterized published excerpts of the skits as the seriously held views of Plaintiffs.

       106.           As discussed previously in Paragraphs “40” through “53”, University officials

made several false statements of fact following the release of the videos to the public.

       107.           As a direct and proximate result of the University’s intentional and malicious

actions, by and through its agents, servants and/or employees, has disseminated libelous,

slanderous, and defamatory statements regarding Plaintiffs’ alleged beliefs and conduct. As such,



       {S0833993.1}                                  35
     Case 5:18-cv-00496-FJS-DEP Document 42 Filed 08/03/18 Page 36 of 38



Plaintiffs have suffered economic damages, past and future mental anguish and distress,

irreparable damage to their reputation, and humiliation, resulting in direct and consequential

damages totaling over $1,000,000.00 per Plaintiff.

                              AS AND FOR A FIFTH CAUSE OF ACTION
                                    FOR PUNITIVE DAMAGES

       108.           Plaintiffs repeat and reallege each and every allegation in paragraphs “1” through

“107” as if specifically set forth below.

       109.           Defendants’ aforementioned acts demonstrate a callous, reckless, willful, depraved

and wanton indifference to and disregard for Plaintiffs’ rights.

       110.           Defendants’ grossly negligent, willful, and wanton conduct evinces a total,

conscious and/or reckless disregard of Plaintiffs’ contractual and constitutional rights to the due

process and freedom of speech.

       111.           Defendants’ unauthorized and unlawful actions, despite full knowledge of the

consequences associated with those actions demonstrates a callous, reckless, willful, depraved and

wanton indifference to and disregard of Plaintiffs’ rights and of federal law.

       112.           Consequently, an award of punitive damages is warranted and required in order to

uphold and vindicate Plaintiffs’ rights.

       113.           By reason of the foregoing, Plaintiffs seek judgment against Defendants for

compensatory and punitive damages, together with interest, disbursements, costs and fees, in

addition to attorneys’ fees, to the fullest extent permitted by law.




       {S0833993.1}                                   36
     Case 5:18-cv-00496-FJS-DEP Document 42 Filed 08/03/18 Page 37 of 38



       WHEREFORE, Plaintiffs, JOHN DOE #1, JOHN DOE #2, JOHN DOE #3, JOHN DOE #4,

JOHN DOE #5, JOHN DOE #6, JOHN DOE #7, JOHN DOE #8, and JOHN DOE #9,

respectfully request the following relief be granted by this Court:

             A. A permanent injunction:

                         a. Lifting any holds placed on Plaintiffs’ transcripts as a result of the disciplinary

                             process described above;

                         b. Allowing Plaintiffs to obtain official transcripts without any disciplinary

                             notations;

                         c. Restoring Plaintiffs to their pre-existing good academic standing;

                         d. Prohibiting Defendants from otherwise impeding Plaintiffs’ rights to transfer

                             to other institutions;

             B. A judgment against all Defendants, jointly and severally, awarding compensatory

                      damages to Plaintiffs in an amount to be determined at a jury trial;

             C. A judgment against all Defendants, jointly and severally, awarding punitive damages

                      to Plaintiffs in an amount to be determined at a jury trial;

             D. Costs and prejudgment interest; and

             E. Any other such and further relief as the Court deems just and proper.




       {S0833993.1}                                     37
     Case 5:18-cv-00496-FJS-DEP Document 42 Filed 08/03/18 Page 38 of 38



Dated: August 3, 2018              SMITH, SOVIK, KENDRICK & SUGNET, P.C.



                                   By:    ____________________________________
                                          Kevin E. Hulslander, Esq.
                                          Bar Roll No.: 103027
                                          Karen Felter, Esq.
                                          Bar Roll No.: 508182
                                          David M. Katz, Esq.
                                          Bar Roll No.: 700065
                                   Attorneys for Plaintiffs
                                   250 South Clinton Street, Suite 600
                                   Syracuse, New York 13202
                                   Telephone:     (315) 474–2911
                                   Facsimile:     (315) 474–6015
                                   Email:         khulslander@smithsovik.com




      {S0833993.1}                   38
